             Case 4:21-cr-06022-SAB             ECF No. 50          filed 05/26/21    PageID.135 Page 1 of 1


                                              CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   EDUARDO REYES-SANTANA           CASE NO.                                  4:21-CR-6022-RMP-2
                                                                                            ______________________
                                                                                                              FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                    ✔                                               EASTERN DISTRICT OF WASHINGTON
                                    1
                TOTAL # OF COUNTS: _______      _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE

                                                                                                     May 26, 2021
                                                                                                         SEAN F. MCAVOY, CLERK



Count            Statute                   Description of Offense                                    Penalty
                                                                           CAG not less than 10 years nor more than life; and/or
                                                                           $10,000,000 fine;
                                  Conspiracy to Distribute 500 Grams or
                                                                           not less than 5 years nor more than life supervised release;
        21 U.S.C. §§ 841(a)(1),   More of a Mixture or Substance
  1                                                                        a $100 special penalty assessment; and
        (b)(1)(A)(viii), 846      Containing a Detectable Amount of
                                                                           denial of certain federal benefits pursuant to 21 U.S.C. §§
                                  Methamphetamine
                                                                           862 and 862a




        21 U.S.C. § 853           Forfeiture Allegation
